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Counsel for Plaintiff

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

    WALTER VOEGTLIN,                                 Case No:

            Plaintiff,
                                                     JURY TRIAL DEMANDED
            v.

    SYNNEX CORPORATION, KEVIN
    MURAI, DENNIS POLK, FRED
    BREIDENBACH, LAURIE SIMON
    HODRICK, HAU LEE, MATTHEW
    MIAU, DWIGHT STEFFENSEN, ANN
    VEZINA, THOMAS WURSTER,
    DUANE ZITZNER, and ANDREA
    ZULBERTI,

            Defendants.


      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS

       Plaintiff Walter Voegtlin (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                 NATURE OF THE ACTION

       1.        This is an action against SYNNEX Corporation (“SYNNEX” or the “Company”)

and its Board of Directors (the “Board” or the “Individual Defendants”) for their violations of



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Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C.

§§ 78n(a) and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17 C.F.R. § 240.14a-

9, in connection with the proposed merger (the “Proposed Transaction”) of SYNNEX and Tiger

Parent (AP) Corporation, the indirect parent entity of Tech Data Corporation (“Tech Data”). 1

                                 JURISDICTION AND VENUE

        2.      The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

        3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

        4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

complained of herein had an effect in this District, the alleged misstatements entered and the

subsequent damages occurred in this District, and the Company’s New York subsidiaries conduct

business in this District.

        5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.




1
 Tech Data currently is wholly owned by funds managed by affiliates of Apollo Global
Management, Inc. (the “Apollo Funds”) and their co-investors.

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                                          PARTIES

       6.      Plaintiff is, and has been at all relevant times hereto, an owner of SYNNEX

common stock.

       7.      Defendant SYNNEX provides business process services in the United States and

internationally. The Company is incorporated in Delaware. The Company’s common stock trades

on the New York Stock Exchange under the ticker symbol, “SNX.”

       8.      Defendant Kevin Murai (“Murai”) is Chairman of the Board of the Company.

       9.      Defendant Dennis Polk (“Polk”) is President, Chief Executive Officer, and a

director of the Company.

       10.     Defendant Fred Breidenbach (“Breidenbach”) is a director of the Company.

       11.     Defendant Laurie Simon Hodrick (“Hodrick”) is a director of the Company.

       12.     Defendant Hau Lee (“Lee”) is a director of the Company.

       13.     Defendant Matthew Miau (“Miau”) is a director of the Company.

       14.     Defendant Dwight Steffensen (“Steffensen”) is lead director of the Company.

       15.      Defendant Ann Vezina (“Vezina”) is a director of the Company.

       16.     Defendant Thomas Wurster (“Wurster”) is a director of the Company.

       17.     Defendant Duane Zitzner (“Zitzner”) is a director of the Company.

       18.     Defendant Andrea Zulberti (“Zulberti”) is a director of the Company.

       19.     Defendants Murai, Polk, Breidenbach, Hodrick, Lee, Miau, Miau, Steffensen,

Vezina, Wurster, Zitzner, and Zulberti are collectively referred to herein as the “Individual

Defendants.”

       20.     Defendants SYNNEX and the Individual Defendants are collectively referred to

herein as the “Defendants.”




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                              SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       21.     On March 22, 2021, SYNNEX and Tech Data announced that they had entered into

a definitive merger agreement under which SYNNEX and Tech Data will combine. Under the

terms of the agreement, Apollo Funds will receive an aggregate of 44 million shares of SYNNEX

common stock plus the refinancing of existing Tech Data net debt and redeemable preferred shares

of approximately $2.7 billion. Upon closing of the Proposed Transaction, SYNNEX shareholders

will own approximately 55% of the combined entity, with Apollo Funds owning approximately

45%. The press release announcing the Proposed Transaction states, in pertinent part:

             SYNNEX to Combine with Tech Data Creating a Leading Global IT
                                     Distributor

             Establishes Premier Growth Platform with Best-in-Class Capabilities and
                                           Offerings

               25%+ Accretive to SYNNEX' Non-GAAP Diluted EPS in First Year

       Conference Call Today at 5:30 AM PT/8:30 AM ET

       NEWS PROVIDED BY
       SYNNEX Corporation; Tech Data
       Mar 22, 2021, 07:51 ET

       FREMONT, Calif. and CLEARWATER, Fla., March 22, 2021 /PRNewswire/ -
       - SYNNEX Corporation (NYSE: SNX) and Tech Data today announced they have
       entered into a definitive merger agreement under which SYNNEX and Tech Data
       will combine in a transaction valued at approximately $7.2 billion, including net
       debt. The combined company, with approximately $57 billion in estimated pro
       forma annual revenues and a team of over 22,000 associates and colleagues, will
       provide customers and vendors with expansive reach across products, services, and
       geographies to accelerate technology adoption.

                                        *      *       *

       Key Transaction Details




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  •   Under the terms of the agreement, Apollo Funds will receive an aggregate of 44
      million shares of SYNNEX common stock plus the refinancing of existing Tech
      Data net debt and redeemable preferred shares of approximately $2.7 billion.
  •   Upon closing of the transaction, SYNNEX shareholders will own approximately
      55% of the combined entity, with Apollo Funds owning approximately 45%.
  •   Rich Hume will lead the combined company as CEO. Dennis Polk will be
      Executive Chair of the Board of Directors and will take an active role in the ongoing
      strategy and integration of the business, among other responsibilities.
  •   The combined company will have an eleven-member board, including Hume, with
      six individuals appointed by SYNNEX and with Apollo Funds to have Board
      designation rights based on ownership, initially including four total directors, two
      of whom will be independent.
  •   Non-GAAP diluted EPS accretion of more than 25% is expected in year one post
      close, with further accretion expected in year two.
  •   Net optimization and synergy benefits of $100 million are expected in the first year
      after closing, achieving a minimum of $200 million by the end of the second year.
  •   The combined company will benefit from a strong financial foundation and an
      investment grade profile. Based on LTM pro-forma adjusted EBITDA of
      approximately $1.5 billion and expected combined debt of approximately $4.0
      billion at close, debt-to-adjusted EBITDA is expected to be approximately 2.7x at
      transaction close and is expected to decline to approximately 2x within 12 months.

      The transaction is expected to close in the second half of calendar year 2021, subject
      to the satisfaction of customary closing conditions, including approval by
      SYNNEX stockholders and regulatory approvals.

      MiTAC Holdings Corporation and its affiliates, which collectively owned
      approximately 17% of SYNNEX shares as of January 22, 2021, have agreed to vote
      their shares in favor of the transaction. Until the transaction is completed, the
      companies will continue to operate independently.

                                        *       *       *

      About SYNNEX Corporation

      SYNNEX Corporation (NYSE: SNX) is a Fortune 200 corporation and a leading
      provider of a comprehensive range of distribution, systems design, and integration
      services for the technology industry to a wide range of enterprises. Founded in
      1980, SYNNEX Corporation operates in numerous countries throughout North
      and South America, Asia-Pacific, and Europe. Additional information about
      SYNNEX may be found online at synnex.com.

      About Tech Data

      Tech Data connects the world with the power of technology. Our end-to-end
      portfolio of products, services and solutions, highly specialized skills, and expertise


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       in next-generation technologies enable channel partners to bring to market the
       products and solutions the world needs to connect, grow, and advance. Tech Data
       is ranked No. 90 on the Fortune 500® and has been named one of Fortune's World's
       Most Admired Companies for 11 straight years. To find out more, visit
       www.techdata.com or follow us on Twitter, LinkedIn, Facebook and Instagram.

       About Apollo

       Apollo is a leading global investment manager with offices in New York, Los
       Angeles, San Diego, Houston, Bethesda, London, Frankfurt, Madrid, Luxembourg,
       Mumbai, Delhi, Singapore, Hong Kong, Shanghai and Tokyo, among others.
       Apollo had assets under management of approximately $455 billion as of December
       31, 2020 in credit, private equity and real assets funds. For more information about
       Apollo, please visit www.apollo.com.

       22.     On May 3, 2021, the Company filed a Schedule 14A Preliminary Proxy Statement

under Section 14(a) of the Exchange Act (the “Proxy Statement”) with the SEC in connection with

the Proposed Transaction.

   B. The Proxy Statement Contains Materially False and Misleading Statements and
      Omissions

       23.     The Proxy Statement, which recommends that SYNNEX shareholders vote in favor

of the Proposed Transaction, omits and/or misrepresents material information concerning: (i)

SYNNEX’s and Tech Data’s financial projections; (ii) the financial analyses performed by

SYNNEX’s financial advisor, Duff & Phelps, LLC (“Duff & Phelps”), in connection with its

fairness opinion; (iii) potential conflicts of interest involving Duff & Phelps; and (iv) potential

conflicts of interest involving Company insiders.

       24.     The omission of the material information (referenced below) renders the following

sections of the Proxy Statement false and misleading, among others: (i) Background of the Merger;

(ii) Recommendation of the Board; (iii) Reasons for Recommending the Adoption of the Merger

and the Merger Agreement; (iv) Certain SYNNEX Projections; (v) Opinion of Duff & Phelps,

LLC; and (vi) Interests of Directors and Executive Officers in the Merger.

       25.     Unless and until the material misstatements and omissions (referenced below) are

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remedied before the anticipated shareholder vote on the Proposed Transaction, SYNNEX

shareholders will be forced to make a voting decision on the Proposed Transaction without full

disclosure of all material information. In the event the Proposed Transaction is consummated,

Plaintiff may seek to recover damages resulting from Defendants’ misconduct.

             1. Material Omissions Concerning SYNNEX’s and Tech Data’s Financial
                Projections

       26.      The Proxy Statement omits material information concerning SYNNEX’s and Tech

Data’s financial projections.

       27.      With respect to the SYNNEX Financial Projections, the Proxy Statement fails to

disclose: (1) all line items underlying (i) SYNNEX revenue, (ii) SYNNEX Non-GAAP Net

Income, and (iii) SYNNEX adjusted EBITDA; and (2) a reconciliation of all non-GAAP to GAAP

metrics.

       28.      With respect to the Tech Data Projections, the Proxy Statement fails to disclose: (1)

all line items underlying (i) Tech Data revenue, and (ii) Tech Data Adjusted EBITDA (including

Tech Data’s GBO 2 Program); and (2) a reconciliation of all non-GAAP to GAAP metrics.

       29.      With respect to the SYNNEX Adjusted Tech Data Projections, the Proxy Statement

fails to disclose: (1) all line items underlying (i) Tech Data Adjusted revenue, and (ii) Tech Data

Adjusted EBITDA (including Tech Data’s GBO 2 Program); and (2) a reconciliation of all non-

GAAP to GAAP metrics.

       30.      The disclosure of this information is material because it would provide the

Company’s shareholders with a basis to project the future financial performance of the Company

and combined company and would allow shareholders to better understand the financial analyses

performed by the Company’s financial advisor in support of its fairness opinion. Shareholders

cannot hope to replicate management’s inside view of the future prospects of the Company.



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Without such information, which is uniquely possessed by Defendant(s) and the Company’s

financial advisor, the Company’s shareholders are unable to determine how much weight, if any,

to place on the Company’s financial advisor’s fairness opinion in determining whether to vote for

or against the Proposed Transaction.

       31.      When a company discloses non-GAAP financial metrics in a Proxy Statement that

were relied upon by its board of directors in recommending that shareholders exercise their

corporate suffrage rights in a particular manner, the company must also disclose, pursuant to SEC

Regulation G, all projections and information necessary to make the non-GAAP metrics not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial metrics disclosed or released with the

most comparable financial metrics calculated and presented in accordance with GAAP. 17 C.F.R.

§ 244.100. 2

       32.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             2. Material Omissions Concerning Duff & Phelps’ Analyses

       33.      In connection with the Proposed Transaction, the Proxy Statement omits material

information concerning analyses performed by Duff & Phelps.

       34.      The Proxy Statement fails to disclose the following concerning Duff & Phelps’



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  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html (footnotes omitted) (last visited June 4, 2021) (“And last month, the staff issued
guidance addressing a number of troublesome practices which can make non-GAAP disclosures
misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
this guidance and revisit their approach to non-GAAP disclosures.”).

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“Income Approach (Discounted Cash Flow Analysis) Summary”: (1) the future unlevered free cash

flows attributable to Tech Data for the fiscal years ending January 31, 2022 through January 31,

2024, and all underlying line items; (2) Tech Data’s terminal value; (3) the individual inputs and

assumptions underlying the (i) perpetuity growth formula assuming a 2.5% terminal growth rate,

and (ii) discount rates ranging from 10.0% to 11.0%; (4) Tech Data’s after-tax cost of debt; and

(5) the rate of return that security holders could expect to realize on alternative investment

opportunities with similar risk profiles.

       35.      With respect to Duff & Phelps’ “Summary of Selected Public Companies / Selected

M&A Transactions Analyses,” the Proxy Statement fails to disclose the individual inputs and

assumptions underlying the (i) LTM EBITDA multiple ranged from 9.0x to 10.0x, (ii) NTM

EBITDA multiple ranged from 8.5x to 9.5x, and (iii) NTM + 1 EBITDA multiple ranged from

8.0x to 9.0x.

       36.      The Proxy Statement fails to disclose the following concerning Duff & Phelps’

“Summary of Synergies’ Analysis”: (1) the Terminal Value of all Net Synergies after the fiscal year

ending January 31, 2024; (2) the individual inputs and assumptions underlying the perpetuity

growth formula assuming a 2.5% terminal growth rate; and (3) discount rates ranging from 11.75%

to 13.75%.

       37.      The valuation methods, underlying assumptions, and key inputs used by

Duff & Phelps in rendering its purported fairness opinion must be fairly disclosed to SYNNEX

shareholders. The description of Duff & Phelps’ fairness opinion and analyses, however, fails to

include key inputs and assumptions underlying those analyses. Without the information described

above, SYNNEX shareholders are unable to fully understand Duff & Phelps’ fairness opinion and

analyses, and are thus unable to determine how much weight, if any, to place on them in




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determining whether to vote for or against the Proposed Transaction. This omitted information, if

disclosed, would significantly alter the total mix of information available to the Company’s

shareholders.

             3. Material Omissions Concerning Potential Conflicts of Interest Involving Duff
                & Phelps

       38.      The Proxy Statement omits material information concerning potential conflicts of

interest involving Duff & Phelps.

       39.      The Proxy Statement provides that “Duff & Phelps is entitled to be paid [] fees at

Duff & Phelps’ standard hourly rates for any time incurred should Duff & Phelps be called upon

to support its findings subsequent to the delivery of its Opinion and/or assist in the preparation or

review of documents associated with the Merger.”

       40.      The Proxy Statement, however, fails to disclose: (1) Duff & Phelps’ standard

hourly rates; and (2) whether Duff & Phelps received or expects to receive fees in connection with

supporting its findings subsequent to the delivery of its Opinion and/or assisting in the preparation

or review of documents associated with the Merger.

       41.      The Proxy Statement further provides that, “[d]uring the two years preceding the

date of its Opinion, Duff & Phelps provided financial opinions and valuation services to SYNNEX,

and provided valuation services to Tech Data’s private equity sponsor, Apollo and its affiliates

(which we collectively refer to as “Apollo”). For these prior engagements, Duff & Phelps received

customary fees, expense reimbursement, and indemnification.”

       42.      The Proxy Statement, however, fails to disclose the timing and nature of the past

services Duff & Phelps and/or its affiliates provided SYNNEX, Tech Data, Apollo, and/or their

affiliates, including the amount of compensation Duff & Phelps received or expects to receive for

providing each service within the past two years of the date of its fairness opinion. See 17 C.F.R.


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§ 229.1015(b)(4) (requiring disclosure of all material relationships between a company and its

financial advisors and the compensation received by the advisors during the past two years).

       43.      Disclosure of a financial advisor’s compensation and potential conflicts of interest

to shareholders is required due to their central role in the evaluation, exploration, selection, and

implementation of strategic alternatives and the rendering of any fairness opinions. Disclosure of

a financial advisor’s potential conflicts of interest may inform shareholders on how much weight

to place on that analysis.

       44.      The omission of the above-referenced information renders the Proxy Statement

materially incomplete and misleading. This information, if disclosed, would significantly alter the

total mix of information available to the Company’s shareholders.

             4. Material Omissions Concerning Company Insiders’ Potential Conflicts of
                Interest

       45.      The Proxy Statement omits material information concerning potential conflicts of

interest involving Company insiders.

       46.      The Proxy Statement provides the following:

       The directors and executive officers of SYNNEX have interests and
       arrangements that may be different from, or in addition to, those of SYNNEX’
       stockholders.

       When considering the recommendations of the Board with respect to the proposals
       described in this proxy statement, SYNNEX’ stockholders should be aware that the
       directors and executive officers of SYNNEX have interests in the Merger that are
       different from, or in addition to, those of SYNNEX’ stockholders generally. These
       interests include the continued employment of certain executive officers of
       SYNNEX by the combined company, the continued service of certain directors of
       SYNNEX as directors of the combined company, the treatment in the Merger of
       outstanding equity, equity-based and incentive awards, severance arrangements,
       other compensation and benefit arrangements, and the right to continued
       indemnification of former directors and officers by the combined company.

       47.      The Proxy Statement, however, fails to disclose the details of all employment-

related and compensation-related discussions and negotiations concerning the Company’s officers

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and directors, including the parties to such communications, when they occurred, and the specific

content discussed/communicated.

        48.     Any communications regarding post-transaction employment during the

negotiation of the underlying transaction must be disclosed to shareholders. This information is

necessary for shareholders to understand potential conflicts of interest of management and the

Board. Such information may illuminate the motivations that would prevent fiduciaries from acting

solely in the best interests of the Company’s shareholders.

        49.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

                                          COUNT I
          For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                   Against All Defendants
        50.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        51.     During the relevant period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false and misleading Proxy Statement specified above,

which failed to disclose material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading, in violation of Section 14(a) of

the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

        52.     Each of the Individual Defendants, by virtue of his/her positions within the

Company as officers and/or directors, were aware of the omitted information but failed to disclose

such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

of their names to file and disseminate the Proxy Statement with respect to the Proposed

Transaction. The Defendants were, at minimum, negligent in filing the materially false and


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misleading Proxy Statement.

       53.     The false and misleading statements and omissions in the Proxy Statement are

material in that a reasonable shareholder would consider them important in deciding how to vote

on the Proposed Transaction.

       54.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.

       55.     Because of the false and misleading statements and omissions in the Proxy

Statement, Plaintiff is threatened with irreparable harm.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       56.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       57.     The Individual Defendants acted as control persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

as officers and/or directors of the Company and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the Proxy

Statement filed with the SEC, they had the power to and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

false and misleading Proxy Statement.

       58.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected. As officers and/or directors of a publicly owned




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company, the Individual Defendants had a duty to disseminate accurate and truthful information

with respect to the Proxy Statement, and to correct promptly any public statements issued by the

Company which were or had become materially false or misleading.

       59.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same. The Individual Defendants were provided with or had unlimited

access to copies of the Proxy Statement and had the ability to prevent the issuance of the statements

or to cause the statements to be corrected. The Proxy Statement at issue contains the

recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

Individual Defendants were directly involved in the making of the Proxy Statement.

       60.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that they

reviewed and considered—descriptions which had input from the Individual Defendants.

       61.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       62.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

shareholders will be irreparably harmed.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

material information identified above to Company shareholders;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

and Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Granting such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: June 4, 2021                                 Respectfully submitted,

                                                    HALPER SADEH LLP

                                                    By: /s/ Daniel Sadeh
                                                    Daniel Sadeh, Esq.
                                                    Zachary Halper, Esq. (to be admitted pro hac
                                                    vice)
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                                          Counsel for Plaintiff




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